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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-23591-CIV-ALTONAGA

  JESUS GONZALEZ,

         Plaintiff,
  v.

  32 AVE VALERO CORP,

        Defendant.
  _________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the Mediator’s Report [ECF No. 15], filed on

  October 23, 2020, indicating the parties have reached an agreement in this matter. The Court

  having carefully reviewed the file, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within sixty (60) days of the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida, this 23rd day of October, 2020.




                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
